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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION


STATE OF TEXAS,

                      Plaintiff,

v.                                                     Civil Action No. _______________

GOOGLE LLC,

                      Defendant.


 INDEX OF DOCUMENTS ATTACHED TO DEFENDANT’S NOTICE OF REMOVAL

     Date                                Description                               App.
     Filed
             List of Counsel of Record                                      0001
             State Court Docket Sheet                                       0002
 1/19/22     Plaintiff’s Original Petition                                  0003 - 0016
 1/20/22     Request for Service                                            0017
 1/25/22     Citation to Google LLC                                         0018 - 0019
 1/25/22     Signed Order                                                   0020 - 0021
 2/01/22     Return of Service                                              0022 - 0025
 2/22/22     Defendant’s Answer                                             0026 - 0028
 2/23/22     Docket Control Order                                           0029 - 0032




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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION


STATE OF TEXAS,

                      Plaintiff,

v.                                             Civil Action No. _______________

GOOGLE LLC,

                      Defendant.


                              LIST OF COUNSEL OF RECORD

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        Grant Dorfman                         YETTER COLEMAN LLP
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        Attorneys for Plaintiff




APP0001
2/24/22, 1:00 PM   Case 4:22-cv-00636 Document    1-1 Filed on 02/25/22 in TXSD Page 3 of 33
                                         odyssey.mctx.org/Unsecured/CaseDetail.aspx?CaseID=2514053

  -Skip-to-Main
           ---  Content
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                                                            Register of Actions
                                                                  Case No. 22-01-00731

 State of Texas vs. GOOGLE LLC                                              §                           Case Type: Other Civil - Over $250,000
                                                                            §                           Date Filed: 01/19/2022
                                                                            §                            Location: 457th Judicial District Court
                                                                            §
                                                                            §


                                                                    Party Information

                                                                                                                         Attorneys
 Defendant       Google LLC                                                                                              Bryce L Callahan
                  Registered Agent Corporation Service                                                                    Retained
                 Company                                                                                                 713-632-8000(W)
                  d/b/a CSC-Lawyers Incorporating Service
                 Company
                  211 E 7th St Ste 620                                                                                   R. PAUL YETTER
                  Austin, TX 78701-3218                                                                                   Retained
                                                                                                                         713-632-8000(W)


 Plaintiff       State of Texas                                                                                          Taylor M. Hubbard
                  Consumer Protection Division                                                                            Retained
                  PO Box 12548, MC 010                                                                                   512-936-1308(W)
                  Austin, TX 78711-2548


                                                              Events & Orders of the Court

              OTHER EVENTS AND HEARINGS
 01/19/2022   Original Petition (OCA)
 01/19/2022   E-Filed Original Petition Document
 01/19/2022   Jury Trial Requested
 01/20/2022   Request For Service
 01/25/2022   Citation
                 Google LLC                                           Served                  01/26/2022
                                                                      Returned                02/01/2022
 01/25/2022 Signed Order
 02/01/2022 Return of Service
 02/18/2022 CANCELED Temporary Injunction (9:45 AM) (Judicial Officer Santini, Vincenzo J)
              Passed
 02/22/2022 Answer
 10/03/2022 Jury Trial (9:00 AM) (Judicial Officer Santini, Vincenzo J)


                                                                   Financial Information



              Plaintiff State of Texas
              Total Financial Assessment                                                                                                           358.00
              Total Payments and Credits                                                                                                           358.00
              Balance Due as of 02/24/2022                                                                                                           0.00

 01/19/2022   Transaction Assessment                                                                                                               350.00
 01/19/2022   E-File Electronic Payment   Receipt # 2022-319873                              State of Texas                                      (213.00)
 01/19/2022   State Credit                                                                                                                       (137.00)
 01/20/2022   Transaction Assessment                                                                                                                  8.00
 01/20/2022   E-File Electronic Payment   Receipt # 2022-320074                              State of Texas                                         (8.00)




              APP0002
odyssey.mctx.org/Unsecured/CaseDetail.aspx?CaseID=2514053                                                                                              1/1
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                                                                                                              1/ 19/2022 9:59 AM
                                                                                                      Melisa Miller, District Clerk
                                                                                                     Montgomery County, Texas
                                        22-01-00731                                              Deputy Clerk, Cam il le Bradstreet

                                 NO. - - -- - - -- -- -

 THE STATE OF TEXAS                              §                    IN THE DISTRICT COURT
      Plaintiff,                                 §   Montgomery County - 457th Judicial District Court
                                                 §
 v.                                              §                              JUDICIAL DISTRICT
                                                 §
 GOOGLELLC                                       §
     Defendant.                                  §         MONTGOMERY COUNTY, TEXAS



                             PLAINTIFF'S ORIGINAL PETITION

          Plaintiff, the STATE OF TEXAS ("State"), acting by and through the Attorney General

 KEN PAXTON and on behalf of the public interest, files this petition complaining of Defendant,

 GOOGLE LLC ("Google").          In this action, the State alleges that Google engaged in false ,

 misleading, and deceptive acts and practices in violation of§ 17.46 of the Texas Deceptive Trade

 Practices-Consumer Protection Act ("DTPA"), Tex. Bus. & Com. Code § § 17.41-17 .63. In

 support hereof, the State will respectfully show the Court the following:

                                    NATURE OF THE CASE

          Google hired media companies, including iHeartMedia, to record and broadcast

 advertisements in the Dallas-Fort Worth ("DFW") and Houston, Texas markets, promoting the

 Pixel 4, a smartphone sold by Google. Google provided a script for the Pixel 4 advertisements and

 demanded that the radio personalities recording the advertisements give a first-hand endorsement

 of the product. Google knew that the Pixel 4 was not yet on the market and so the radio

 personalities could not provide an honest endorsement. iHeartMedia recognized Google's script



                                                                                                                         ~ 1/t
 as misleading, conveyed its concern over the deceptive nature of the advertisements to Google,

 and sought to have Google provide Pixel 4 phones to the radio personalities recording the                                ~


 advertisements. Google, however, refused to cooperate with the ameliorative efforts suggested                by @,_     ! ~I£
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 iHeartMedia to prevent the advertisements from being deceptive. Instead, Google demanded the

 recording and broadcast of the advertisements using Google's scripted and deceptive wording.

                                  DISCOVERY CONTROL PLAN

         1.       Plaintiff intends to conduct discovery under Level 3 pursuant to Texas Rule of Civil

 Procedure 190.4. This case is not subject to the restrictions of expedited discovery under Texas

 Rule of Civil Procedure 169 because the potential relief sought by the State in this action includes

 a claim for nonmonetary injunctive relief and claims for monetary relief including penalties,

 consumer redress, and attorneys' fees in excess of $1,000,000.

                                            DEFENDANT

        2.        Defendant, Google LLC is a Delaware limited liability company with its principal

 place of business at 1600 Amphitheatre Parkway, Mountain View, California 94043 . Google may

 be served through its registered agent at the following address: Corporation Service Company,

 d/b/a CSC - Lawyers Incorporating Service Company, 211 E. 7th Street, Suite 620, Austin, TX

 78701-3218.

                                   JURISDICTION AND VENUE

         3.       This enforcement action is brought by Attorney General Ken Paxton, through his

 Consumer Protection Division, in the name of the STATE OF TEXAS and in the public interest

 pursuant to the authority granted by § 17.47 of the DTP A upon the grounds that the Defendant has

 engaged in false, deceptive, and misleading acts practices in the course of trade and commerce as

 defined in, and declared unlawful by,§ 17.46(a) and (b) of the DTPA.

         4.       In enforcement suits filed pursuant to§ 17.47 of the DTPA, the Attorney General

 is authorized to seek, inter alia, civil penalties and redress for consumers and injunctive relief.




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         5.      Venue of this suit lies in Montgomery County, Texas under § 17.47(b) of the

 DTPA, because transactions made part of this suit occurred in Montgomery County, Texas, and

 Google and has engaged in trade and commerce in Montgomery County, Texas.

                                        PUBLIC INTEREST

         6.      Plaintiff has reason to believe that Defendant has engaged in and will continue to

 engage in the unlawful practices set forth in this petition.

         7.      Therefore, the Consumer Protection Division of the Office of the Attorney General

 of Texas believes and is of the opinion that these proceedings are in the public interest.

                                    TRADE AND COMMERCE

         8.      At all times described below, Defendant and its agents has engaged in conduct

 which constitutes "trade" and "commerce" defined in § 17.45(6) of the DTPA as follows:

                 "Trade" and "commerce" mean the advertising, offering for sale,
                 sale, lease, or distribution of any good or service, of any property,
                 tangible or intangible, real, personal, or mixed, and any other article,
                 commodity, or thing of value, wherever situated, and shall include
                 any trade or commerce directly or indirectly affecting the people of
                 this state."

                                         ACTS OF AGENTS

         9.       Whenever in this Petition it is alleged that Defendant did any act, it is meant that

 the named Defendant performed or participated in the act, or the named Defendant's officers,

 agents, partners, trustees, or employees perfo1med or participated in the act on behalf of and under

 the authority of the Defendant.




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                                SPECIFIC FACTUAL ALLEGATIONS

 Google hired iHeartMedia to record and broadcast deceptive advertisements promoting the
 Pixel 4 smartphone.

         10.      Google is a global technology company which, in addition to offering a myriad of

 internet-based services, also sells products, including smartphones, smart-TV devices, speakers

 and Wi-Fi routers . In late-October 2019 Google began marketing and selling a smartphone known

 as the Pixel 4, the latest incarnation in Google's line of Pixel smartphones. According to Google,

 Pixel 4 featured a technology called "Night Sight Mode" which resulted in improved color and

 lighting for photographs taken in low-light conditions and an enhanced "Google Assistant."

         11.      iHeaitMedia is the single largest owner of radio stations in the United States, with

 over eight hundred and fifty (850) full-power AM and FM radio stations throughout the country,

 and seventy-two (72) stations in Texas, alone.         iHeartMedia's radio network is known as

 "iHeartRadio." iHeartMedia employs on-air radio personalities ("iHeaitRadio Personalities") who

 often record advertisements for broadcasting in their respective local markets.

         12.      Through Google's media buying agent, Google hired iHeartMedia in October 2019

 to have its iHeartRadio Personalities, including iHeartRadio Personalities in the DFW and Houston

 markets, record advertisements for the Pixel 4 and then to broadcast the advertisements on its

 iHeartMedia radio stations in those markets.

 Google scripted and then maintained creative control over the Pixel 4 advertisements
 recorded by and then aired on iHeartMedia.

         13.      As is customary in the advertising industry, Google retained creative control of the

 "ad-reads" and the ability to reject a recording and demand a re-recording if the iHeart Radio
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 Personality did not record a specific advertisement to Google's exacting standards.
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         14.     Google controlled nearly every aspect of the tone, style and content of the ad-read

 including the speed of the speaker's voice, whether a "musical bed" should be played in the

 background, and the wording used.

         15 .    Google provided a script for the iHeartRadio Personalities to read during the

 recording of the advertisements. The script reflected a first-person account of using the Pixel 4.

 Based verbatim or nearly identically on Google's script, iHeartRadio Personalities touted the Pixel

 4's advanced features in various social settings and how the Pixel 4 had personally and

 meaningfully impacted the iHeartRadio Personality.

         16.     Google's typical script read as follows :

         The only thing I love more than taking the perfect photo? Taking the perfect photo
         at night.

         With Google Pixel 4 both are a cinch.

         It's my favorite phone camera out there, especially in low light, thanks to Night
         Sight Mode.

         I've been taking studio-like photos of everything .. . my son's football game ... a
         meteor shower. . . a rare spotted owl that landed in my backyard. Pies or it didn't
         happen, am I right?

         Pixel 4 is more than just great pies. It' s also great at helping me get stuff done,
         thanks to the new voice activated Google Assistant that can handle multiple tasks
         at once.

         I can read up on the latest health fads, ask for directions to the nearest goat yoga
         class (yes, that's a thing), and text the location to mom hands-free ...

         17.      Any deviation from Google's scripted material had to be approved by Google or its

 agent. On October 22, 2019, an iHeartMedia employee sent an email to Google's media buying

 agent requesting permission to have iHeartRadio Personalities "customize certain parts of the




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 script pending what's relevant to their personal lives (i.e. if they have kids, involved in certain

 activities/hobbies, etc.)." This slight alteration was approved by Google's media buying agent. 1

          18.     This customization allowed by Google was conveyed by iHeartMedia to its

 iHeartRadio Personalities in Houston with the caveat that Google is "very strict on saying the script

 exact. " 2

 iHeartMedia requested sample Pixel 4s for the iHeartRadio Personalities to use in order to
 authenticate Google's requested endorsements; Google refused.

          19.     In the days leading up to the release of the Pixel 4 and the corresponding ad-

 campaign, iHeaitMedia, expressed to Google the violative nature of the advertisements as Google

 required them to be recorded and conveyed the pushback iHeartMedia was receiving from some

 markets regarding the personal endorsement of a product that had never been seen, touched, or

 used by the endorser. In an effort to ameliorate this issue, iHeartMedia requested that Google

provide sample Pixel 4s for its iHeartRadio Personalities to use. On October 22, 2019, an

 iHeartMedia employee wrote to Google's media buying agent:

          I know this has been something that we have brought up numerous times, but it' s
          something that we really need to get to our voicing talent, especially if we want
          them to use their own first person tense when voicing ... We . . . cannot require
          talent to use "I" in voiced spots when they have not physically used the product
          (this could become an issue with FCC regulations) ..... For this reason, we may
          receive spots from stations that adjust the tense slightly to remove the
          personalization of "I." ... We understand that timeliness would likely not happen
          prior to launch as that's only a few days away, but are we able to secure Pixel 4
          devices for our voicing talent? 3

          20.     Google was aware of the need to provide sample product to endorsers in order to

 allow the iHeartRadio personalities to honestly endorse the phones. Nevertheless, Google ignored




 1
   Email from PHD Media to iHeartMedia, Dated October 22 , 2019.
 2
   Email from iHeartMedia to iHeartRadio Personalities Dated October 22, 2019.
 3
   Email from iHeartMedia to PHD Media, dated October 22, 2019.

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 iHeartMedia's warning, opting instead to move forward with the ad-campaign to coincide with the

 launch of the Pixel 4. As explained by Google's agent:

            Just heard back from [Google] in regards to sending Pixels to your talent.
            Unfortunately, this is not feasible for [Google] at this time as the product is not on
            shelves yet. It would take over a week to ship all of these phones out resulting in a
            loss of airtime. 4

            21.     Following Google's refusal, eight (8) iHeartRadio Personalities, each on different

 radio stations in the DFW and Houston markets, recorded advertisements for the Pixel 4. The

 advertisements aired Two Thousand Four Hundred and Five (2,405) times between October.28 ,

 2019, and December 2, 2019.

            22.     The iHeartRadio Personalities used first-person language identical or substantially

 similar to that in the script described in Paragraph 16.

            23.     Moreover, some of the iHeartRadio Personalities personalized the advertisements

 describing how they had used or ctmently use the Pixel 4.              For example, one iHeartRadio

 Personality in Dallas described how he uses the Pixel 4 to take photographs of his "little dog

 Baxter," his "nieces and nephews" and all his "friends acting crazy."             Another in Houston

 elaborated on how the Google Assistant helps him "ask for directions to the nearest club or concert

 venue and text the location to my third ex-wife."

            24.     At the time the advertisements were recorded, the iHeartRadio Personalities did not

 own or regularly use Pixel 4 smartphones; had not taken photographs at night with the Pixel 4 and

 had not used the Pixel 4's features for the variety of personal, social, and familial events that the

 advertisements represented. The Pixel 4 was not released until October 24, 2019. iHeartMedia

 began recording the Pixel 4 advertisements the week of October 21, 2019.




 4
     Email from PHD Media to iHeartMedia, dated October 23, 2019.

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 Google's pattern of requiring personal endorsements and refusing to provide sample
 product continues.

         25.      The iHeartMedia ad-campaign for the Pixel 4 in Texas markets ended in December

 2019. In late-January 2020, Google again hired iHeartMedia to record and air advertisements

 promoting the Pixel 4 in five (5) non-Texas markets across the United States. iHeartMedia again

 reached out to Google and requested sample Pixel 4 smartphones. Google again refused to provide

 sample Pixel 4s. After Google's refusal, iHeartMedia then offered to buy Pixel 4s from Google .

 Finally, Google relented, sending iHeartMedia five (5) used Pixel 4s. This continued pattern of

 behavior demonstrates the blatant disregard Google possesses for true and accurate advertising in

 the marketing and sale of its products.

                                   VIOLATIONS OF THE DTPA

         26.      Plaintiff incorporates and adopts by reference the allegations contained in each and

 every preceding paragraph of this petition.

         27.      Defendant, as alleged above and detailed below, has in the course of trade and

 commerce engaged in false, misleading and deceptive acts and practices declared unlawful in

 § 17.46(a) and (b) of the DTPA, including but not limited to:

                  a. Causing confusion or misunderstanding as to the source, sponsorship, approval

                      or certification of goods or services, in violation of DTP A § 17.46(b)(2); or

                  b. causing confusion or misunderstanding as to affiliation, connection, or

                      association with, or certification by, another(§ 17.46(b)(3));

                  c. representing that goods or services have sponsorship, approval, characteristics,

                      or benefits which they do not have or that a person has a sponsorship, approval,

                      status, affiliation, or connection which the person does not(§ 17.46(b)(5));




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                   d. representing that the goods or services are of a particular standard, quality, or

                       grade, if they are of another(§ 17.46(6)(7));

                   e. Failing to disclose information concerning goods or services which was known

                       at the time of the transaction if such failure to disclose such information was

                       intended to induce the consumer into a transaction into which the consumer

                       would not have entered had the information been disclosed, by failing to

                       adequately disclose that the paid endorsers of the Pixel 4 did not own or possess

                       the Pixel 4 and did not use it in the manner represented in advertisements in

                       violation ofDTPA § 17.46(6)(24).

          28 .     Defendant, in addition to and as alleged above, in the course and conduct of trade

 and commerce, has directly or indirectly engaged in false, misleading, and deceptive acts and

 practices declared to be unlawful by the DTPA by:

                   a. Drafting, paying for, and/or causing to be broadcast advertisements that do not

                       reflect the honest opinions, beliefs or experience of the endorser; 5

                   b. Drafting, paying for, and/or causing to be broadcast advertisements that convey

                       express representations, made by an endorser, that would be deceptive if made

                       directly by the Defendant;

                   c. Drafting, paying for, and/or causing to be broadcast advertisements that distort

                       the endorser's experience with a product;




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   See DTPA § 17.46(c)(l) which states, "It is the intent of the legislature that in constrning Subsection (a) of this ~>-
 section in suits brought under Section 17.47 of this subchapter the courts to the extent possible will be guided by <( ~
 Subsection (b) of this section and the interpretations given by the Federal Trade Commission and federal courts to W (.)
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 Section 5(a)(l) of the Federal Trade Commission Act."

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                  d. Drafting, paying for, and/or causing to be broadcast advertisements which use

                       a celebrity when it does not have reason to believe that the celebrity endorser

                       subscribes to the views presented;

                  e. Drafting, paying for, and/or causing to be broadcast advertisements that

                       represent that an endorser uses the endorsed product, when the endorser is not

                       a bona fide user of the product.

                        APPLICATION FOR TEMPORARY INJUNCTION
                              AND PERMANENT INJUNCTION

         29.      The State believes that Defendant is engaging in, has engaged in, or are about to

 engage in, acts and practices declared to be unlawful under the DTP A. For example, by continuing

 to create and broadcast advertisements which contain false endorsements and deceptive

 information, Defendant is manipulating the marketplace. Customers, who might otherwise make

 a purchase from one of Google's competitors, are induced through false representations to

 purchase Google products, instead.

         30.      Plaintiff believes these proceedings to be in the public interest. Therefore, pursuant

 to DTPA § l 7.47(a), Plaintiff requests relief by way of a Temporary Injunction and a Permanent

 Injunction as set forth in the Prayer.

                                 WRIT TO ISSUE WITHOUT BOND

         31.      The State requests that the Clerk of the Comt issue such Writs of Injunction

 pursuant to any Injunction issued by this Court in conformity with the law, and that same be issued

 and be effective without the execution and filing of a bond as Plaintiff, the State of Texas, is exempt

 from such bonds under§ 17.47(b) of the Texas Business and Commerce Code.




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 Plaintiff's Original Petition


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                                             TRIAL BY JURY

         32.       The State herein requests a jury trial and tenders the jury fee to the Montgomery

 County District Clerk's office, pursuant to Rule 216 of the Texas Rules of Civil Procedure and

 under § 51.604 of the Texas Government Code.

                                     CONDITIONS PRECEDENT

         33.       All conditions precedent to State's claims for relief have been performed or have
 occurred.
                                                PRAYER

         34.       The State prays that Google be cited according to law to appear and answer herein

 and that after due notice and hearing a temporary injunction be issued, and that upon final hearing

 a permanent injunction be issued, restraining and enjoining Google, its officers, agents, servants,

 employees, and attorneys, and those persons in active concert or participation with Google who

 receive actual notice of the injunction by personal service or otherwise from engaging in false,

 misleading, or deceptive acts and practices declared to be unlawful by the DTP A, including but

 not limited to:

                   a. Drafting, paying for, and/or causing to be broadcast advertisements that do not

                       reflect the honest opinions, beliefs or experience of the endorser;

                   b. Drafting, paying for, and/or causing to be broadcast advertisements that convey

                       express representations, made by an endorser, that would be deceptive if made

                       directly by Google;

                   c. Drafting, paying for, and/or causing to be broadcast advertisements that distort

                       the endorser's experience with a product;




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                 d. Drafting, paying for, and/or causing to be broadcast advertisements which use

                      a celebrity when it does not have reason to believe that the celebrity endorser

                      subscribes to the views presented;

                 e. Making any misrepresentation, expressly or by implication, about the status of

                      any endorser or person providing a review of a product or service;

                 f.   Drafting, paying for, or causing to be broadcast any advertisement that

                      represents, expressly or by implication, that an endorser used or uses a product

                      or service, when the endorser is not a bona fide user of the product or service;

                 g. Causing confusion or misunderstanding as to the source, sponsorship, approval

                      or certification of goods or services; or

                 h. Failing to disclose information concerning goods or services which was known

                      at the time of the transaction if such failure to disclose such information was

                      intended to induce the consumer into a transaction into which the consumer

                      would not have entered had the information been disclosed.

        35.      Plaintiff further prays that this Court will:

                 a. Order Defendant to pay civil penalties not to exceed $10,000 per violation of

                      the DTPA to the State of Texas;


                 b. Order Defendant to pay pre-judgment and post-judgment interest on all money

                      awards as provided by law; and


                 c. Grant a Judgment against the Defendant and order the Defendant to pay the

                      State's attorneys' fees and costs of Court, as provided by the laws of the State

                      of Texas, including but not limited to, Tex. Gov't Code§ 402.006(c).




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         36.      Plaintiff prays that the State receive such other and further relief to which it is justly

 entitled.


                                              Respectfully submitted,

                                              KEN PAXTON
                                              Attorney General of Texas

                                              BRENT WEBSTER
                                              First Assistant Attorney General

                                              GRANT DORFMAN
                                              Deputy First Assistant Attorney General

                                              SHAWN E. COWLES
                                              Deputy Attorney General for Civil Litigation

                                              STEVEN ROBINSON
                                              Division Chief, Consumer Protection Division


                                               ls/Taylor M Hubbard
                                              TAYLOR M. HUBBARD
                                              Assistant Attorney General
                                              State Bar No. 24124803
                                              taylor.hubbard@oag. texas. gov
                                              Office of the Attorney General of Texas
                                              Consumer Protection Division
                                              P. 0. Box 12548, MC - 010
                                              Austin, Texas 78711-2548
                                              Telephone: 512-936-1308
                                              Fax: 512-473-8301
                                              RICK BERLIN
                                              Assistant Attorney General
                                              State Bar No. 24055161
                                              rick. berlin@oag.texas.gov
                                              Office of the Attorney General of Texas
                                              Consumer Protection Division
                                              808 Travis Street, Suite 1520
                                              Houston, Texas 77002
                                              Telephone: 713-223-5886
                                              Fax: 713-223-5821

                                              ATTORNEYS FOR THE STATE OF TEXAS


 State of Texas v. Google LLC                                                          Page 13 of 13
 Plaintiff's Original Petition


APP0015
  Case 4:22-cv-00636 Document 1-1 Filed on 02/25/22 in TXSD Page 17 of 33




                                                                                                      I
                                   State of Texas, County of Montgomor~. I, Melisa Mllltr, District
                                   t,;l erK 01 1V1on1gomery County, Texas Certify \ 3     pages in
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                                   and correct copy of the original record electronically or
                                   physically filed in my office, as it appears on this date.
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                                   Witness m official                                this
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APP0016
           Case 4:22-cv-00636 Document 1-1 Filed on 02/25/22 in TXSD PageReceived
                                                                          18 of 33and E-Filed for Record
                                                                                                                                   1/20/2022 11 :25 AM
                                                                                                                             Melisa Miller, District Clerk
                                                                                                                            Montgomery County, Texas
                                                     Request for Service                                                      Deputy Clerk, Kori Rauen

                                           Montgomery County District Clerk

     CASE NUMBER: 22-01-00731
                       - - - - - - - - - - CURRENT COURT:                      457th Judicial District Court

     Name(s) of Documents to be served: _P_la_in_t_iff_'s_O_r---'ig'-in_a_l_P_et_it_io_n_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




     FILE DATE of document(s) to be served: _1_/1_9_/2_2_ _ _ _ _ _ _ Month/Day/Year
     SERVICE TO BE ISSUED ON (Please List Exactly as The Name Appears in The Pleading to Be Served):
     Issue Service to: Google LLC
                       --"---------------------------------
     Address of Service: 211 E. 7th Street, Suite 620
     City, State & Zip: Austin , TX 78701-3218
     Agent (if applicable): Corporation Service Company, d/b/a CSC        Lawyers Incorporating Service Company
         D Check here to have citation addressed to wherever the addressee may be found.
     TYPE OF SERVICE/PROCESS TO BE ISSUED: (Check the appropriate box)

     [i] Citation for Personal Service              D Secretary of State Citation ($12.00)                D Civil lnjunction/TRO
     D Citation by Posting                          D Highway Commission ($12.00)                         D Precept
     D Citation by Publication                      D Commissioner of Insurance ($12.00)                  D Subpoena
     D Citation Scire Facias                        D Capias (not an E-lssuance)                          D Other (Please describe)
     D Writ of Garnishment                          D Temporary Restraining Order (Family)
     D Writ of Sequestration                        D Temporary Ex Parte Protective Order
     D Writ of Attachment                           D Notice of Appl. For Protective Order
     D Writ of Habeas Corpus                        D Notice of Hearing/Show Cause           (See additional forms for
     D Notice of Foreign Judgment (UIFSA)                                                    Post Judgment Service)
     D Notice of Foreign Judgment (UCO EA) (by certified mail service)
     D Writ of Withholding ($15.00 - certified mail by District Clerk only)
     D Notice of Termination of Child Support ($15.00 - certified mail by District Clerk only)
     SERVICE BY: (Check the appropriate box.)

     [i] E-lssuance by District Clerk (No Service Copy Fees Charged) (Note:) CAPIAS is not an E-lssuance Option
     *Citations returned electronically will bee-served through E-file Texas to requesting attorney/prose.
     0   ATTORNEY PICK-UP (phone or email contact): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     D MAIL to attorney at Attorney of Record's address on file in case record.
     0   CERTIFIED MAIL by District Clerk
     D Regular Mail (only available for Expedited Foreclosures and UIFSA Foreign Judgments
     0   CIVIL PROCESS SERVER - Authorized Person to Pick-up: _ _ _ _ _ _ _ _ Phone: _ _ _ __ __
     0   OTHER, explain:

     Issuance of Service requested by:
     Attorney/Party Name: Taylor Hubbard                                              Bar# or ID: _2_4_12_4_8_0_3_ _ _ _ __
     Mailing Address: P. 0 . Box 12548, MC - 010, Austin, Texas 78711-254~t111e el TeKas, Ce11Aty ef M9Rlggmer~. I. Melisa Miller, District
     Phone Number: 512-93 6 - 1308                                       1.,ierK m 1v1orHgomery County, Texas Cerlily              l
                                                                                                                                 pages in
                                                                                   ,;~,. :;;; ;,o. 22 - D \ - bD7~      I                as a true
                                                                                   and correct copy of the original record electronically or
                                                                                   physically filed in my office, as it appears on this date.
                                                                                   Witness my official hand and seal of office, this
                                                                                   the~         day of     Ewvu.fi:"4 , WZ-2- •
----APP0017
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                                                                                                         Clerk or ~puty
        Case 4:22-cv-00636 Document 1-1 Filed on 02/25/22 in TXSD Page 19 of 33

                                            CITATION
                                        Cause Number: 22-01-00731

Clerk of the Court                                     Attorney Requesting Service
Melisa Miller                                          Taylor M. Hubbard
P.O. Box 2985                                          Office of the Attorney General of Texas
Conroe, Texas 77305                                    Consumer Protection Division
                                                       PO Box 12548 MC - 010
                                                       Austin TX 78711-2548
                                   THE STATE OF TEXAS
NOTICE TO DEFENDANT: You have been sued. You may employ an attorney. If you or your attorney
do not file a written answer with the clerk who issued this citation by 10:00 a.m. on the Monday next
following the expiration of twenty days after you were served this citation and petition, a default judgment
may be taken against you. In addition to filing a written answer with the clerk, you may be required to
make initial disclosures to the other parties of this suit. These disclosures generally must be made no later
than 30 days after you file your answer with the clerk. Find out more at TexasLawHelp.org.

To:    Google LLC
       Registered Agent Corporation Service Company
       d/b/a CSC-Lawyers Incorporating Service Company
       211 E 7th St Ste 620
       Austin TX 78701-3218


The attached Plaintiff'1s Original Petition was filed on the 19th day of January, 2022, in 457thJudicial
District Court, located at the Montgomery County Courthouse in Conroe, Texas, numbered 22-01-00731,
and includes the following parties: State of Texas, plaintiff(s), and Google LLC, defendant(s).

Issued and given under my hand and seal of said Court at Conroe, Texas on this the 25th day of January,
2022.


                                                             Mel,~iM~,~~ J;listrict Clerk
                                                             Montgomery County, Texas


                                                             By: ~ia'$A;wi1_
                                                             Patricia Morrill, Deputy




      APP0018
         Case 4:22-cv-00636 Document 1-1 Filed on 02/25/22 in TXSD Page 20 of 33


                                                           OFFICER'S RETURN
Cause No. 22-01-00731                          Court No: 457th Judicial District Court
Style: State of Texas vs. GOOGLE LLC
To:              Google LLC
Address:         Registered Agent Corporation Service Company
                d/b/a CSC-Lawyers Incorporating Service Company
                211 E 7th St Ste 620
                Austin TX 78701-3218

Came to hand the _ day of _ __ _ _ _ , 20_ , at ____ o'clock, and executed in _ _ __ _ _ _ _ County,
Texas by delivering to each of the within named defendants in person, a true copy of this citation with the date of
delivery endorsed thereon, together with the accompanying copy of the Plaintiffs Original Petition at the following
times and places, to wit:
Name                    Date/Time                              Place, Course and distance from Courthouse


Manner of service:

*And not executed as to the defendants(s)
The         diligence          used                            in               finding                said         defendant( s)          being:

And         the          cause                     of           failure                  to         execute        this          process      is:

And information received as to the whereabouts of said defendant(s) being:

FEES:
Serving Petition and Copy                  $_ _ _ __
                                                                                 _ _ _ _ _ _ _ _ _ _ OFFICER
TOTAL                                      $_ _ _ __
                                                                                          _ _ _ _ _ _ _ _ _ _ County, Texas
                                                                                 By: _ _ _ _ _ _ _ _ _ _ _ , Deputy

AFFIANT
Complete if you are a person other than a Sheriff, Constable, or Clerk of the Court. In accordance with Rule 107: the
officer, or authorized person who services, or attempts to serve a citation shall sign and return. The return must
either be verified or be signed under penalty of perjury.

A return signed under penalty of perjury must contain the
statement below in substantially the following form:
My full name is _ _ _ __ _ _ _ _ _ __ _ _ _ _ _ _                                                  Declarant/Authorized Process Server
My date of birth is - ~ - ~ - - and my address is
                                                                                                   ID# & Exp. Of Certification
I DECLARE UND ER PENALTY OF PERJURY THAT THE
FOREGOING IS TRUE AND CORRECT                                                                      SWORN AND SUBSCRIBED ON
Executed in._ _ _ _ _ _ _ _ _ , County, State of _ _ _ __
on the _ _day of                 , 20_ _ .
                                                                                                   DATE

Declarant/ Authorized Process Server

ID# & Exp. Of Certification                                                 .        .
                     State of Texas, County of Montgomery, I, Mehsa Miller, Olstrlc
                                                                                    NOTARY
                     1.,1erK or 1Yton ornery County, Texas Certify 7-     pages i
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                     and correct copy of the original record electronically or
                                                                                          asatru

                     physically filed in my office, as it appears on this date.
                     Witness my official hand and seal of office, this
                      the     --Z..4 day of Fe..b·(I.A. A- ( l:) ,7.I:>2.2- •
       APP0019
                      s1 9~                   le Y , e,      L\ , W ;LV A- Yll\>
                                                     Clerk   of Deputy
            Case 4:22-cv-00636 Document 1-1 Filed on 02/25/22 in TXSD Page 21 of 33
                                                                                                  RECEIVED AND FILED
                                                                                                      FOR RECORD
    Isaacks, Nancy                                                                                 1/25/2022 3:07 PM
                                                                                                 Melisa Miller, District Clerk
    From:                              Isaacks, Nancy
    Sent:                              Tuesday, January 25, 2022 3:06 PM                         Montgomery County, Texas
    To:                                taylor.hubbard@oag.texas.gov
    Cc:                                Miller, PJ; Hayden, Jennifer
    Subject:                           22-01-00731 State of Texas vs. GOOGLE LLC
    Attachments:                       457th Order Setting Temporary Injunction Hearing .pdf

    Importance:                        High



    Good Afternoon,

    Attached you will find a notice for a Tl hearing set by the court on the above mentioned case.

    Thank you and have a great day,




    Court Coordinator I
    457 th District Court
    Vincenzo J. Santini, Judge Presiding
    301 N. Main, Suite 200
    Conroe, Tx 77301
    936-538-3697 office




                                                                            State of Texas, County 0! Montgomery, I, Melisa Miller, District
                                                                            1.,1erK or IV!Orngomery County, Texas Certify   l     pages in
                                                                            c~"sc ;-,c. ~~ - 0 1 - QQJ 3 I                        as a true
                                                                            and corre ct copy of the original record electronically or
                                                                            physically filed in my office, as ii appears on this date.
                                                                            Witness my official hand and seal of office, this
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                                                                                                   Clerk o Deputy

          APP0020

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  Case 4:22-cv-00636 Document 1-1 Filed on 02/25/22 in TXSD RECEIVED
                                                             Page 22 of 33AND FILED
                                                                FOR RECORD
                                                              1/25/2022 3:07 PM
                                                           Melisa Miller, District Clerk
                          CAUSE NO. 22-01-00731            Montgomery County, Texas

 STATE OF TEXAS                                   §                IN THE DISTRICT COURT OF
                                                  §
 vs.                                              §        MONTGOMERY COUNTY, TEXAS
                                                 §
 GOOGLELLC                                       §                       457m JUDICIAL DISTRICT


                  ORDER SETTING TEMPORARY INJUNCTION HEARING

          It is ORDERED that Plaintiffs Request for a Temporary Injunction shall be heard before

 the Judge of the above-named Court on February 18, 2022 at 9:45 AM in the 457 th Judicial

 District Court of Montgomery County, Texas, Conroe, Texas.

          The Clerk of the Court is hereby directed to issue a notice to Defendant to appear at the

 temporary injunction hearing.     The purpose of the hearing will be to determine whether the

 temporary injunction requested by Plaintiff in its Original Petition should be entered pending a

 trial on the merits .

                  SO ORDERED on January 25, 2022.




                                                      Judge Presiding




                                                            State of Texas, County Clf Monlgomeiy. I. Melisa Miller, Dtstriet
                                                                     ll'lomgomery County, Texas Certtiy
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                                                            c«-,~~r.o. 2 2- ~ 0 \ - 0073!                          as a true
                                                            and correct copy of the original record electronically or
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                                                            Witness my official hand and seal of office, this
                                                            the~           day of   f:e....b            j ,
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                                                            Signed       Yk le v- ,· e_ Y • W ,· (l : &o'.)..S.
                                                                                   Clerk or Deputy

APP0021
         Case 4:22-cv-00636 Document 1-1 Filed on 02/25/22 in TXSD Page 23 of and
                                                                      Received 33 E-Filed for Record
                                                                                                                          2/1/2022 2:45 PM
                                                                                                                  Melisa Miller, District Clerk
                                                                                                                 Montgomery County, Texas
                                                                                                                   Deputy Clerk, Kori Rauen




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                       *6895769*

                                                      CASE NO.: 22-01-00731

State of Texas,                                                       INTHE



vs.                                                                   MONTGOMERY COUNTY 457TH DISTRICT COURT


Google LLC.
                                                                      MONTGOMERY COUNTY, TX



                                                          RETURN OF SERVICE


I, Peter Dowdle, do state that the following is true and correct:

That I am over the age of eighteen, not a party to this su it, and have no interest in the outcome of the suit. I have met the criteria
an d I am authorized to serve process in the State of Texas.

On January 25, 2022 at 11 :13 AM. I received a Citation with Plaintiff's Original Petition to be deliver ed to Google LLC, Registered
Aent Corporation Service Co dba (SC-Lawyers Incorporating Service Co at 211 E. 7th St., Ste. 620, Austin, TX 78701 .

That on January 26, 2022 at 11 :32 AM, I delivered said documents to Google LLC, Registered Aent Corporation Service Co dba
CSC-Lawyers Incorporating Service Co by delivery to Evie Lichtenwalter, Person Authorized to Accept Service at 211 E. 7th St.,
Ste. 620, Austin, TX 78701 .
Description of Person Accepting Service:
Sex: Female Race: White Height: 5ft 9in Weight: 280 Hair: Brown


Military Status: NO
Marriage Status: NIA


My name is Peter Dowdle, my date of birth is 05/13/1977, and EZ                        EZ MESSENGER
Messenger's address is                                                                 921 DS. Western Avenue Suite A-3



                                                                                                                                       ! 11
9210 S. Western Avenue Suite A-3, Oklahoma City, OK73139, USA.                         Oklahoma City. OK73139
I declare under penalty of perjury that the foregoing is true and cor rect.            214-748-4200
Executed in TRAVIS County, State of TX on January 27, 2022.                            txupdates@ezmessenger.com


                                                                                       Client File #: 0<2679698390          w
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                                                                                       Texas Office of the Attorney General
                                                                                       Consumer Protection Division - San ~ t ~ i?
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                                                                                       Total Service Costs: $ 0.00
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        Case 4:22-cv-00636 Document 1-1 Filed on 02/25/22 in TXSD Page 24 of 33

                                            CITATION
                                         Cause Number: 22-01-00731

Clerk of the Court                                     Attorney Requesting Service
Melisa Miller                                          Taylor M. Hubbard
P.O. Box 2985                                          Office of the Attorney General of Texas
Conroe, Texas 77305                                    Consumer Protection Division
                                                       PO Box 12548 MC - 010
                                                       Austin TX 78711-2548
                                   THE STATE OF TEXAS
NOTICE TO DEFENDANT: You have been sued. You may employ an attorney. If you or your attorney
do not file a written answer with the clerk who issued this citation bv 10:00 a.m. on the Monday next
following the expiration of twenty days after vou were served this citation and petition, a default judgment
may be taken against you. In addition to filing a written answer with the clerk, you may be required to
make initial disclosures to the other parties of this suit. These disclosures generally must be made no later
than 30 days after you file your answer with the clerk. Find out more at TexasLawHelp.org.

To:    Google LLC
       Registered Agent Corporation Service Company
       d/b/a CSC-Lawyers Incorporating Service Company
       211 E 7th St Ste 620
       Austin TX 78701-3218


The attached Plaintiff's Original Petition was filed on the 19th day of January, 2022, in 457thJudicial
District Court, located at the Montgomery County Courthouse in Conroe, Texas, numbered 22-01-00731,
and includes the following parties: State of Texas, plaintiff(s), and Google LLC, defendant(s).

Issued and given under my hand and seal of said Court at Conroe, Texas on this the 25th day of January,
2022.


                                                             Mel,~ 2~liJ~:~i J;listrict Clerk
                                                             Montgomery County, Texas


                                                             By, ~t{O 'ff/PNUl1
                                                             Patricia Morrill, Deputy




      APP0023
         Case 4:22-cv-00636 Document 1-1 Filed on 02/25/22 in TXSD Page 25 of 33


                                            OFFICER'S RETURN
Cause No. 22-01-00731                          Court No: 457th Judicial District Court
Style: State of Texas vs. GOOGLE LLC
To:              Google LLC
Address:         Registered Agent Corporation Service Company
                d/b/a CSC-Lawyers Incorporating Service Company
                211 E 7th St Ste 620
                Austin TX 78701-3218

Came to hand the _day of _ _ _ _ _ _ , 20_, at ____ o'clock, and executed in _ _ _ _ _ _ _ _ County,
Texas by delivering to each of the within named defendants in person, a true copy of this citation v.rith the date of
delivery endorsed thereon, together with the accompanying copy of the Plaintiff's Original Petition at the follov.ring
times and places, to v.rit:
Name                   Date/Time               Place, Course and distance from Courthouse


Manner of service:

*And not executed as to the defendants(s)
The         diligence          used           in          finding          said           defendant(s)         being:

And         the        cause         of        failure        to        execute          this       process        is:

And information received as to the whereabouts of said defendant(s) being:

FEES:
Serving Petition and Copy      $ _ _ __
                                                           _ _ _ _ _ _ _ _ _ _ OFFICER
TOTAL                          $ _ _ __
                                                               _ _ _ __ _ _ __ _ County, Texas
                                                            By: _ _ _ _ _ _ _ _ _ _ _ , Deputy

AFFIANT
Complete if you are a person other than a Sheriff, Constable, or Clerk of the Court. In accordance with Rule 107: the
officer, or authorized person who services, or attempts to serve a citation shall sign and return. The return must
either be verified or be signed under penalty of perjury.

A return signed under penalty of perjury must contain the
statement below in substantially the following form:
My full name i s _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _                  Declarant/ Authorized Process Server
My date of birth is - ~ - ~ --               and my address is
                                                                      ID# & Exp. Of Certification
I DECLARE UNDER PENALTY OF PERJURY THAT THE
FOREGOING IS TRUE AND CORRECT                                         SWORN AND SUBSCRIBED ON
Executed in_ _ __ _ _ _ _ _ , County, State of _ _ _ __
on the _ _ day of              , 20_ _ .
                                                                      DATE

Declarant/ Authorized Process Server

ID# & Exp. Of Certification
                                                                      NOTARY




       APP0024
     Case 4:22-cv-00636 Document 1-1 Filed on 02/25/22 in TXSD Page 26 of 33

                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.




Envelope ID: 61353816
Status as of 2/2/2022 8: 11 AM CST

Associated Case Party: State of Texas

Name             BarNumber   Email                             TimestampSubmitted              Status

Taylor Hubbard               taylor.hubbard@oag .texas.gov     2/1/2022 2:45:25 PM             SENT



Case Contacts

Name                       BarNumber    Email                            TimestampSubmitted              Status

efiletx @ezmessenger.com                efiletx@ezmessenger.com          2/1/2022 2:45:25 PM             SENT




                                                             State of Texas, County of Montgomery, I, Melisa Miller, District
                                                             1..,1erK or Mo111gomery County, Texas Cert,ty i:±     pages in
                                                             c...;~(; ;-,0. "22.. ~ D l - 001~ (                   as a true
                                                             and correct copy of the original record electronically or
                                                             physically filed in my office, as it appears on this date.
                                                             Witness my official hand and seal of office, this
                                                             the -Z  4       day of -e.b      i u.A- fi      , 2JS2..2- •

                                                             Sig;;-           l
  APP0025
  Case 4:22-cv-00636 Document 1-1 Filed on 02/25/22 in TXSD Page 27 ofand
                                                               Received 33E-Filed for Record
                                                                                                       2/22/2022 9:41 AM
                                                                                               Melisa Miller, District Clerk
                                                                                              Montgomery County, Texas
                                                                                                Deputy Clerk, Kori Rauen

                                           No. 22-01-00731

  THE STATE OF TEXAS,                              §                IN THE DISTRICT COURT OF
                                                   §
          Plaintiff,                               §
  V.                                               §          MONTGOMERY COUNTY, TEXAS
                                                   §
  GOOGLELLC,                                       §
                                                   §
          Defendant.                               §                  457TH JUDICIAL DISTRICT


                              DEFENDANT'S ORIGINAL ANSWER

        Through its counsel, defendant Google LLC files this Original Answer to the petition of

plaintiff State of Texas and, based upon actual knowledge as to itself and its own actions and upon

 information and belief as ·to all other persons and actions, responds as follows:

                                          GENERAL DENIAL

         1.      Pursuant to Texas Rule of Civil Procedure 92, Google denies each allegation in the

petition and requests that the Court require the State to prove its allegations by a preponderance of

the credible evidence, as required by the Constitution and laws of this State.

        2.       Google reserves its right to amend its Answer, as is its right under the Rules of Civil

Procedure and laws of this State.

                                          OTHER DEFENSES

        3.       These claims fail to state a claim upon which relief may be granted.

        4.       Plaintiff lacks the requisite standing to bring the claims alleged in the Petition.

                                                PRAYER

        Defendant Google LLC respectfully prays that the Court render judgment that plaintiff

 takes nothing in this suit and that Google be awarded all other relief to which it is justly entitled.




                                                                 Defendant's Original Answer Page 1



APP0026
  Case 4:22-cv-00636 Document 1-1 Filed on 02/25/22 in TXSD Page 28 of 33



 Dated: February 22, 2022


                                                State Ba       2154200
                                                Bryce L. Callahan
                                                State Bar No. 24055248
                                                YETTER COLEMAN LLP
                                                811 Main Street, Suite 4100
                                                Houston, Texas 77002
                                                (713) 632-8000
                                                pyetter@yetterco le man.com
                                                bcallahan@yettercoleman.com

                                                ATTORNEYS FOR DEFENDANT GOOGLE LLC



                                    CERTIFICATE OF SERVICE


         I certify that on this 22nd day of February 2022, the foregoing was served by e-mail and/or
 by electronic filing service on counsel of record.

                                              Isl Brvce L. Callahan
                                              Bryce L. Callahan




APP0027
      Case 4:22-cv-00636 Document 1-1 Filed on 02/25/22 in TXSD Page 29 of 33

                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.

Courtney Smith on behalf of R. Yetter
Bar No. 22154200
csmith@yettercoleman.com
Envelope ID: 61950483
Status as of 2/22/2022 2:26 PM CST

Associated Case Party: State of Texas

Name                BarNumber   Email                            TimestampSubmitted                Status

Taylor Hubbard                  taylor.hubbard@oag .te xas.gov   2/22/2022 9:41 :03 AM             SENT



Associated Case Party: Google LLC

Name                BarNumber    Email                            Ti mestampSu bm itted             Status

Bryce Callahan                   bcallahan@yettercoleman .com     2/22/2022 9:41 :03 AM             SENT

 R. PaulYetter                   pyetter@yettercoleman.com        2/22/2022 9:41 :03 AM             SENT

Courtney Smith                   csm ith@yettercoleman .com       2/22/2022 9:41 :03 AM             SENT

 Heaven Chee                     hchee@yettercoleman .com         2/22/2022 9:41 :03 AM             SENT

Ali Shan Ali Bhai                asalibhai@yettercoleman .com     2/22/2022 9:41 :03 AM             SENT



Case Contacts

 Name                       BarNumber      Email                           TimestampSubmitted               Status

efiletx @ezmessenger.com                   efiletx@ezmessenger.com         2/22/2022 9:41 :03 AM            SENT




                                                                 State of Texas, County of Montgomery, I, Melisa Miller, District
                                                                 i..;1erK 01 Montgomery County, Texas Certify 3        pages in
                                                                 Ctiu~~ no. -Z Z.... - b \ - b{)7     :.> I            as a true
                                                                 and correct copy of tile original record electronically or
                                                                 physically filed in my office, as it appears on this date.
                                                                 Witness my official hand and seal of office, this
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   APP0028
        Case 4:22-cv-00636 Document 1-1 Filed on 02/25/22 in TXSD Page 30 of 33


Isaacks, Nancy

From:                              Isaacks, Nancy
Sent:                              Wednesday, February 23, 2022 1:09 PM
To:                                taylor.hubbard@oag.texas.gov; bcallahan@yettercoleman.com
Cc:                                M itzie.Garner@oag.texas.gov
Subject:                           22-01-00731 State ofTexas vs. GOOGLE LLC
Attachments:                       457th - Docket Control Order.pdf

Importance:                        High



Attached please find the Court's Docket Control Order issued in the referenced case. This
Order is being sent to you using the service email address on file with the Montgomery County
District Clerks office.

Thank you,




Court Coordinator I
457 th District Court
Vincenzo J. Santini, Judge Presiding
301 N. Main, Suite 200
Conroe, Tx 77301
936 -538-3697 office




                                                                     State of Texas, County of Montgomery, I, Melisa Miller, o;strict
                                                                     i.,lerk or Montgomery County, Texas Cert11y    I      pages in
                                                                     c.:;a:.~ :;.:,, 22 · 0  I - 0013          J           as a true
                                                                     and correct copy of the, original re cord electronlcally or
                                                                     physically filed in my office, as it appears on this date.
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                                                                     the '2   4   day of     f:e.b Y' u. A-v':}      , 21Y22,. .
                                                                     Signed   '\JA \e.....-1· e_   y'    W , ll;rt--VYI-S
                                                                                            Clerk or Deputy




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                                                   CAUSE NO. 22-01-00731

    ST ATE OF TEXAS                                      §                                 IN THE DISTRICT COURT OF

    vs.                                                  §                            MONTGOMERY COUNTY, TEXAS

    GOOGLELLC                                            §                                    457m JUDICIAL DISTRICT




                                                DOCKET CONTROL ORDER

            IT IS ORDERED that this Docket Control Order shall control the disposition of this matter; the Texas Rules of
    Civil Procedure shall control in computing any period of time not addressed within this Order; and any date that falls on a
    weekend or legal holiday (as determined by the Montgomery County Commissioners Court) shall be moved to the first
    business day thereafter.

    IT IS ORDERED THAT THE PLAINTIFF MUST IMMEDIATELY SEND A COPY OF THIS DOCKET CONTROL
    ORDER, BY A METHOD PRESCRIBED BY RULE 21a, TO EACH AND EVERY PARTY ANSWERING OR
    OTHER WISE APPEARING IN THIS CASE AFTER THE DATE THIS ORDER IS SIGNED.


    1.      PLEADING DEADLINE:                                                 150 DAYS BEFORE TRIAL
            All amendments and supplements to pleadings must be filed by this date.

    2.      EXPERT WITNESS DESIGNATION:
            A list shall be filed which includes each expert' s name, address, telephone number, the subject of the testimony,
            and the opinions that will be proffered by each expert. Experts not listed in compliance with this paragraph
            will not be permitted to testify absent a showing of an exception under Rule 193.6. A Rule 194 disclosure is
            not a substitute for this filed designation.
             (a)     Parties seeking affirmative relief                            150 DAYS BEFORE TRIAL
             (b)     All other parties                                             120 DAYS BEFORE TRIAL

    3.      DISCOVERY RESPONSES:                                                90 DAYS BEFORE TRIAL
            By no later than this date, all written discovery responses must be due, all responses and supplements must be
            completed, and all depositions must be completed, read, and signed.

    4.      EXPERT CHALLENGE HEARINGS:                                            75 DAYS BEFORE TRIAL
            All challenges to expert witnesses must be set for a hearing to occur by this date. Failure to obtain such a hearing
            is a waiver of any Rule 702 objection.

    5.      SUMMARY JUDGMENTS:                                                    30 DAYS BEFORE TRIAL
            All such motions shall be set for a submission docket which is no later than this date.

    6.      ALTERNATIVE DISPUTE RESOLUTION                                      30 DAYS BEFORE TRIAL
            This case is referred for Alternative Dispute Resolution (ADR) under the Court's Standing Order on Alternative
            Dispute Resolution.
                  https://www.mctx.org/departments/departments_ d_ -_fldistrict_ courts/45 7thdistrict_court.php

            ADR shall be completed on or before this date. By Rule 11 agreement filed with the District Clerk, the parties
            may agree to an ADR date between this date and the trial date so long as ADR is completed before the trial date.

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7.    MOTIONS FOR CONTINUANCE:                                              15 DAYS BEFORE TRIAL
      All motions for continuance of the Trial Date must be filed at least 15 days before the trial date, except in exigent
      circumstances, and will be considered by the Court without necessity of submission if they are agreed.

8.    JOINT NOTICE FILING:                                                     14 DAYS BEFORE TRIAL
      All parties will file a SINGLE Joint Notice with the Court, answering:
               (I)      Are you ready for trial?
               (2)      What is the estimated length of time for trial?
               (3)      Do you need a Pre-Trial conference and, if so, why?
                                 The Court will take up pre-trial motions in the hour prior to trial. You should request a
                                 Pre-Trial conference only if you need more time than that.
               (4)      Are there any pending motions? If so, what are they and when were they filed?
               (5)      Have the parties mediated? If so, when? If the parties have not mediated, is there mediation
                        scheduled prior to trial?
               (6)      Are there any special needs or accommodations for the presentation of the case, including any
                        issues related to the availability of counsel and witnesses?

      If there is a disagreement among the parties as to any of these six items, the Joint Notice will state the positions of
      each of the parties.

      ANY PARTY WHO FAILS TO PARTICIPATE IN THE DRAFTING PROCESS WILL BE SUBJECT
      TO SANCTIONS, INCLUDING DISMISSAL FOR WANT OF PROSECUTION AND A FINDING OF
      ABANDONMENT OF CLAIMS OR DEFENSES PURSUANT TO TEXAS RULES OF CIVIL
      PROCEDURE 165 AND 165a.
           If any party does not participate with the Joint Notice, the party or parties filing the Joint Notice shall
           identify who did not participate.

      IF A JOINT NOTICE IS NOT TIMELY FILED, THE COURT WILL PRESUME THAT THE PARTIES
      HAVE NO FURTHER INTEREST IN PURSUING OR DEFENDING THIS MATTER AND THE
      COURT WILL DISPOSE OF THIS SUIT BY DISMISSAL FOR WANT OF PROSECUTION AND A
      FINDING OF ABANDONMENT OF CLAIMS OR DEFENSES PURSUANT TO TEXAS RULES OF
      CIVIL PROCEDURE 165 AND 165a.

9.    PRE-TRIAL MATERIALS:                                                       14 DAYS BEFORE TRIAL
      By no later than this date, all parties shall exchange with each other and file the following:

      a.       EXHIBIT LIST. All exhibits to be offered at trial shall be pre-marked and identified by exhibit number
               on the list, with exhibits served on other parties, but not filed. Any party requiring authentication of an
               exhibit must file and serve notice of same within 7 days after the exhibit is provided; FAILURE TO DO
               SO IS AN ADMISSION TO AN EXHIBIT'S AUTHENTICITY. All exhibits which the parties agree to
               admit shall be admitted into evidence as a first order of business on the trial date. All Exhibits shall be
               digital and provided to the Court Reporter. Each exhibit shall not exceed 100MB. Digital Evidence shall
               be labeled with Exhibit Number or Letter without Description.
      b.       WITNESS LIST. All witnesses who are anticipated to be called to testify at trial, including all experts
               shall be on the Witness List.
      c.       DEPOSITION EXCERPTS. All deposition excerpts that may be offered at trial in lieu of live
               testimony shall be identified by specific designated pages and line numbers.
       d.      MOTIONS IN LIM/NE. Motions In Limine should be specific to the case. Please do not duplicate the
               items which already appear in the Court's Standing Order In Limine.


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        Case 4:22-cv-00636 Document 1-1 Filed on 02/25/22 in TXSD Page 33 of 33



       e.       JURY CHARGE. If the trial is to a jury, a proposed jury charge shall be both filed and provided via
                email to the Court Administrator and Court Coordinator.
       f.       FINDING OF FACT/CONCLUSIONS OF LAW. If the trial is to the bench, proposed findings of Fact
                and Conclusions of Law shall be both filed and provided via email to the Court Administrator and Court
                Coordinator.

10.    PRE-TRIAL CONFERENCE                                                      THURSDAY BEFORE TRIAL
       The Court will set pre-trial conferences based on the Court' s own motion or on request of the parties. The Court
       will notice all Pre-Trial conferences. Only those parties notified by the Court shall appear.

11.    TRIAL                                                                      OCTOBER 03, 2022
       This case is set for TRIAL on a two-week rolling docket beginning at 9:00 a.m. on the above date. If the case is
       not assigned by the second Friday following this date, then the case will be reset. You are instructed to monitor
       the Court's website to determine at what date and time you should appear:

             https://wwv.-. mctx.org/dcpartments/depa11mcnts _ J_ -_[/district_comts/45 7thdistrict_comt.p hp

UNLESS OTHERWISE ORDERED BY THE COURT, THE FOREGOING DATES AS CALCULATED FROM
THE TRIAL DATE STATED HEREIN REMAIN THE APPLICABLE DEADLINES FOR THIS CASE EVEN IF
THE TRIAL DATE IS RESET AND REGARDLESS OF THE REASON FOR ANY RESET.


Signed on this the 23rd day of February, 2022




                                                           ~ · &~
                                                        V I N C E ~ r : JUDGE PRESIDING
                                                        457 th JUDICIAL DISTRICT COURT




Sent to: taylor.hubbard@oag.texas.gov; bcallahan@yettercoleman.com; Mitzie.Garner@oag.texas.gov




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